Case 1:05-cv-01083-.]DT-STA Document 20 Filed 04/28/05 Page 1/@¥ Page|D 7

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IN THE UNITED STATES DISTRICT CoURT ’°/P<,
FoR THE WESTERN DISTRICT oF TENN V 0 § <9 ` §§
EASTERN DlvlsIoN ,VkOf/,§, ’5'{:3. '
Q<`q’:¢_/J, 430 '~?c?
CHARLES R. DAILEY, SR., and wife %f€§}>é/O
LINDA L. DAILEY 539/y /`

Plaintiffs,

vs.
Case No.: 1:05-cv-01083-JDT-sta
MERCK & CO., INC.; BECKY
CAPPS TEAL, DPH; EXPRESS
SCRIPTS, INC; SARAH C.
CAPOCACCIA; STEPHANIE B.
(BUCK) ISON; COURTNEY SHAY
(INGRAM) McMAK.`IN; VINAY
KRISHAN SOOD; MELISSA CAROL
(McALLISTER) BARNES; MICHAEL
RICHARDS; PATRICIA
BLASINGAME and SCOTT EVANS,

Defendants

 

 

ORDER GRANTING CONSENT MOTION FOR EXTENSION OF TIME 'I`O RESPOND
TO DEFENDANT EXPRESS SCRIPTS, INC.’S MOTION TO DISMISS

This matter came on to be heard upon the Consent Motion of Plaintiffs requesting an
additional one (1) Week to respond to Defendant Express Scripts, Inc.’s Motion to Dismiss. For
the reasons set forth in the motion, the Court finds the motion is well taken and should be granted

IT IS THEREFORE ORDERED that the consent motion of Plaintiffs, for an extension of
time is hereby GRANTED and that Plaintiffs shall have until Wednesday, May 4 to respond to

Defendant Express Scripts, lnc.’s Motion to Dismiss.

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v¢»f._ ,
signed this the 3 57 " day of Q}Q% , 2005: b

lmle sTATEs DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 20 in
case 1:05-CV-01083 Was distributed by faX, mail, or direct printing on
May 2, 2005 to the parties listed.

 

 

J ames L. Wright
JACKS LAW FIRM
ll 1 Congress Avenue
Suite 1010

Austin7 TX 78701

Thomas F. Preston

MCNABB BRAGORGOS & BURGESS, PLLC
81 Monroe Ave.

SiXth Floor

1\/lemphis7 TN 38103--540

Steven G. Ohrvall

H[LL BOREN- Jackson
1269 N. Highland Ave.
P.O. Box 3539

Jacl<son7 TN 38303--353

Buffey Klein

HUSCH & EPPENBERGER
200 Jefferson Ave.

Ste. 1450

1\/lemphis7 TN 38103

Lela M. Hollabaugh

WALLER LANSDEN DORTCH & DAVIS
511 Union St.

Ste. 2700

Nashville, TN 37219--896

T. Robert Hill

H[LL BOREN

1269 N. Highland Ave.
Jacl<son7 TN 38303--053

Case 1:05-cv-01083-.]DT-STA Document 20 Filed 04/28/05 Page 3 of 3 Page|D 9

Stephen P. Hale

HUSCH & EPPENBERGER
200 Jefferson Ave.

Ste. 1450

1\/lemphis7 TN 38103

Pam Warnock Green

MCNABB BRAGORGOS & BURGESS, PLLC
81 Monroe Ave.

SiXth Floor

1\/lemphis7 TN 38103--540

J ames M. Doran

WALLER LANSDEN DORTCH & DAVIS
511 Union St.

Ste. 2700

Nashville, TN 37219--896

Joseph R. Alexander
MITHOFF LAW FIRM
One Allen Center Penthouse
500 Dallas

Houston, TX 77002

Honorable J ames Todd
US DISTRICT COURT

